         Case 1:22-mj-00257-ZMF Document 1-1 Filed 11/21/22 Page 1 of 7




                                   STATEMENT OF FACTS

         I, Tyler Novak, being duly sworn, declare and state as follows: I am a Special Agent with
the Federal Bureau of Investigation (“FBI”) and have been since January 2021. I am currently
assigned to a Domestic Terrorism Squad of the Los Angeles Field Office, where I primarily
investigate people who commit violent criminal acts in furtherance of their political or social
ideology, and investigate threats associated with the nefarious use of chemical, biological,
radiological, nuclear, and explosive materials. In this capacity, I investigate federal crimes
pertaining to terrorism and have gained experience in cyber-based matters including those
involving dark web markets. As a result, I am familiar with the methods used by criminals in
furtherance of their criminal activities in both the virtual and physical worlds, and I have
received both formal and informal training from the FBI and other institutions regarding cyber
and computer crime investigations and review of digital devices. As a Special Agent, I
completed the FBI Academy in Quantico, Virginia, and received training to include the
fundamentals of law, ethics, interviewing, report writing, firearms, surveillance, defensive
tactics, and case management.

                      Background – The U.S. Capitol on January 6, 2021

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.


                                                 1
         Case 1:22-mj-00257-ZMF Document 1-1 Filed 11/21/22 Page 2 of 7




       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                          Facts Specific to Vincent James ARDOLINO

        According to records obtained through a search warrant served on Google, a mobile device
associated with a Google account in the name of “Vincent Ardolino,” email address
v***@gmail.com, and associated with a phone number ending in 2222 (x2222)1 was present at or
around the U.S. Capitol on January 6, 2021. Google estimates device location using sources
including GPS data and information about nearby Wi-Fi access points and Bluetooth beacons. This
location data varies in its accuracy, depending on the source(s) of the data. As a result, Google
assigns a “maps display radius” for each location data point. Thus, where Google estimates that its
location data is accurate to within 10 meters, Google assigns a “maps display radius” of 10 meters
to the location data point. Finally, Google reports that its “maps display radius” reflects the actual
location of the covered device approximately 68% of the time. In this case, Google location data
shows that a device associated with v***@gmail.com was likely within the U.S. Capitol building
located at First St. SE, Washington, D.C. 20004. According to the location data provided by
Google, this device was likely in or around the U.S. Capitol building on January 6, 2021 from
approximately 2:59 p.m. to 3:58 p.m. Eastern time on January 6, 2021.

        A law enforcement database attributed the phone number x2222 to Vincent Ardolino and
records obtained from Verizon confirmed the phone number x2222 was subscribed to Vincent
James Ardolino (“ARDOLINO”). The address associated with the Verizon account was an address
in Fountain Valley, CA, which is the same address listed on ARDOLINO’s California driver’s
license.

       Further records obtained from the Google account in the name of “Vincent Ardolino” include
photographs and videos that also indicate that ARDOLINO entered the Capitol grounds on January
6, 2021, as described below.

       Among those photos is a selfie-styled photo of an adult male wearing a black jacket and a
blue “Make America Great Again” baseball hat, believed to be ARDOLINO, depicted below in
Figure 1.


1
 The full email address and phone number are known to the affiant but omitted here due to the
public nature of the filing.
                                                  2
        Case 1:22-mj-00257-ZMF Document 1-1 Filed 11/21/22 Page 3 of 7




                                           Figure 1


       Additional photographs from the same Google account appear to have been taken inside
the United States Capitol Building, including those depicted below in Figures 2, 3, and 4.




                                         Figure 2




                                            3
         Case 1:22-mj-00257-ZMF Document 1-1 Filed 11/21/22 Page 4 of 7




                                          Figure 3




                                              Figure 4

       The above Google account also provided GPS coordinates associated with specific
photographs and video stills in the account. The location data of those photos and videos is
consistent with the geolocation of the Google account in the following areas of the Capitol
Building: the West Terrace, the western side of the Senate portion, the Senate wing door, the Crypt,
and outside on the southern end.

        Based on records obtained from Facebook, the FBI determined that ARDOLINO was the
subscriber of Facebook account “vincent.ardolino.” The records also included a Facebook post
that detailed travel to events in Washington, D.C. prior to January 6, 2021. As depicted below in
Figure 5, ARDOLINO made a Facebook post stating, in part, “Almost to DC to help stop the coup
taking place. Turns out this plane is loaded with fellow patriots going to fight the political
corruption that has infected our Government like the CCP virus.” The post also included a
photograph of an in-flight seat monitor for United Airlines 2064 from Los Angeles International
Airport (LAX) to Dulles International Airport (IAD).




                                                 4
         Case 1:22-mj-00257-ZMF Document 1-1 Filed 11/21/22 Page 5 of 7




                                            Figure 5

       To confirm that ARDOLINO was a passenger on United Airlines, your affiant reviewed
records provided by United Airlines. The records revealed ARDOLINO traveled to Washington,
D.C. on January 4, 2021, on United Airlines Flight 2064 from LAX. Further review of information
from United also revealed that ARDOLINO used email address v***@gmail.com and the phone
number x2222 to book the flight.

       On or about February 10, 2022, the FBI interviewed ARDOLINO regarding his presence
and activity in Washington D.C. on January 6, 2021. During the interview, ARDOLINO was
shown a photo copy of Figure 1. When asked if he recognized the individual depicted in Figure 1,
ARDOLINO stated, “That looks like me.” When asked if it was a picture of him that he took of
himself, ARDOLINO responded, “Could be, yeah.” ARDOLINO also confirmed his phone
number was x2222. After confirming his phone number ARDOLINO was asked if he lends his
phone to anyone else. ARDOLINO responded “no.” ARDOLINO was again asked if he is the only
person that carries the phone that uses that phone number. ARDOLINO responded “I guess.”

        During that same interview, ARDOLINO initially denied going to the Capitol, but later
admitted that he was inside the Capitol for approximately 10 minutes. ARDOLINO advised he
entered the Capitol through a doorway. He then proceeded to walk with the crowd down a hallway
into to the Crypt, then he went by the Rotunda, then he exited the Capitol using the same path he
used to enter the building. The path that ARDOLINO claimed to take inside the Capitol is
consistent with the geofence map discussed above.

        One of the law enforcement officers present at the interview was shown a picture of
ARDOLINO’S most recent driver’s license photograph. That officer was asked if the driver’s
license photograph matches the person from the January 6, 2021 photographs, and whether the
person they spoke to who identified himself as ARDOLINO matches the appearance of the person
in the January 6, 2021 photographs. That officer confirmed that the individual in the driver’s
license photograph, the individual he spoke to, and the individual seen in the January 6, 2021
photographs were ARDOLINO.

                                               5
         Case 1:22-mj-00257-ZMF Document 1-1 Filed 11/21/22 Page 6 of 7




       According to closed circuit video footage from inside the Capitol building from the U.S.
Capitol Police, on January 6, 2021, a man in a blue baseball hat, black jacket and black face mask
matching the individual depicted in Figure 1 and believed to be ARDOLINO entered the Capitol
at approximately 3:16 PM EST, as depicted in Figure 6 in red circle. In the video, ARDOLINO
entered the Capitol then proceeded to walk with the crowd toward the Crypt.




                                            Figure 6
       At approximately 3:18 PM, a man believed to be ARDOLINO entered the Crypt and
appeared to use his cell phone, as depicted below in Figures 7 and 8.




                    Figure 7                                               Figure 8
                                                6
         Case 1:22-mj-00257-ZMF Document 1-1 Filed 11/21/22 Page 7 of 7




        Additional images from CCTV and BWC place ARDOLINO in locations in and around
the U.S. Capitol that are consistent with the photos that ARDOLINO appeared to have taken in
Figures 2, 3, and 4. For example, in Figure 3 of this affidavit, an individual is observable with a
red striped beanie wearing a cloak inside the Crypt. In Figure 7 of this affidavit, the same
individual can be seen in the same location of the Crypt a few seconds later.

                                              Charges

        Based on the foregoing, your affiant submits that there is probable cause to believe that
VINCENT JAMES ARDOLINO violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime
to (1) knowingly enter or remain in any restricted building or grounds without lawful authority to
do; and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions; or attempts or conspires
to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,
cordoned off, or otherwise restricted area of a building or grounds where the President or other
person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

        Your affiant submits there is also probable cause to believe that VINCENT JAMES
ARDOLINO violated 40 U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and
knowingly (D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive
conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent to impede,
disrupt, or disturb the orderly conduct of a session of Congress or either House of Congress, or the
orderly conduct in that building of a hearing before, or any deliberations of, a committee of
Congress or either House of Congress; and (G) parade, demonstrate, or picket in any of the Capitol
Buildings.


                                                      _________________________________
                                                      Tyler Novak, FBI

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 21st day of November, 2022.                              2022.11.21
                                                                            14:09:58 -05'00'
                                                      ___________________________________
                                                      ZIA M. FARUQUI
                                                      U.S. MAGISTRATE JUDGE




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